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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF IOWA
                                 DAVENPORT DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,                               Criminal No. 3:07-cr-00634

vs.

CHRISTOPHER JAMES MCGEE,

               Defendant.


                     DEFENDANT MCGEE’S MOTION TO SUPPRESS

       NOW COMES Defendant Christopher James McGee and states:

       1.      The Government claims it has evidence of several controlled buys involving

Codefendant Andrell Sanders.

       2.      The Government intends to use this evidence against Defendant McGee in the

conspiracy count.

       3.      The Government should have arrested Defendant Sanders after the first controlled

buy. The only purpose for the subsequent buys was to increase the drug quantity and thereby the

potential penalties against him and the codefendants.

       4.      The Government is not allowed to do this regarding other offenses, such as not

arresting a bank robber until he has committed a series of bank robberies.

       5.      Allowing the Government to introduce evidence of the subsequent controlled buys

would condone sentence manipulation that violates Defendant McGee’s Due Process rights.


       WHEREFORE, Defendant McGee asks the Court to suppress all evidence of the subsequent

controlled buys.
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                                                      For CHRISTOPHER JAMES MCGEE, Defendant
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                                               PROOF OF SERVICE

         I certify that on 8 May 2009 I filed this document with the clerk of this Court through the CM/ECF system. All
participants in this case are registered CM/ECF users, and service will be through the CM/ECF system.


                                                                s/James Bryson Clements

cc:      Christopher J. McGee
         file (McGEEcj1403.01)




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